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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 CALIFORNIA ASSOCIATION OF
 PRIVATE POSTSECONDARY SCHOOLS,

                Plaintiff,

        v.                                                Civil Action No. 17-999 (RDM)

 ELISABETH DeVOS, Secretary of
 Education, et al.

                Defendants.


                                            ORDER

       For the reasons stated in the accompanying memorandum opinion, Dkt. 110, it is hereby

ORDERED that Plaintiff’s motion for summary judgment, Dkt. 83, is DENIED; and it is further

       ORDERED that Defendant’s cross-motion for summary judgment, Dkt. 94, is

GRANTED; and it is further

       ORDERED that this case is DISMISSED.

       This Order constitutes the final judgment of the Court within the meaning of Federal Rule

of Civil Procedure 58(a). The Clerk of the Court is directed to terminate the case.

       SO ORDERED.



                                                     /s/ Randolph D. Moss
                                                     RANDOLPH D. MOSS
                                                     United States District Judge

Date: January 31, 2020
